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IN UNITED STATES C}MAGISTRATE [CIDISTRICT | [J APPEALS COURT or O OTHER PANEL (Specify below)
IN THE CASE OF LOCATION NUMBER
FOR
L VS. | »
AT
[
|" ___ PERSON REPRESENTED (Show your full name) 1 © Defendant—Adult DOCKET NUMBERS
2 0 Defendant - Juvenile Magistrate
> HASSE | SALA 3 2 Appellant
N + Len 4 0 Probation Violator District Court
5 CD Parole Violator
[~~ ss CHARGE/OFFENSE (describe if applicable & check box —*) ¢ Felony 6 C Habeas Petitioner Court of Appeals
Misdemeanor 7 (1D 2255 Petitioner
8 1 Material Wimess
9D Other

 

 

 
    

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you now employed? [| Yes No {| Am Self-Employed
Name and address of employer:
IF YES, how much do you IF NO, give month and year of last employment
\. EMPLOY- 9 . 9
MENT earn per month? $ How much did you eam per month? $
If married is your Spouse employed? [I Yes kw No
IF YES, how much does your : If a minor under age 21, what is your Parents or
Spouse earn per month? $ D Guardian’s approximate monthly income? $
Have you received within the past 12 months any income from a business, profession or other form of self-employment, or in the form of
rent payments, interest, dividends, retirement or annuity payments, or other sources? Pk ves L] No
OTHER Kop teeceiven SOURCES
ASSETS INCOME |JF YES, GIVE THE AMOUNT DIALLO ozes [ - ~6GQst ¢oMaye Mani
RECEIVED & IDENTIFY $
THE SOURCES
-—__—
CASH Have you any cash on hand or money in savings or checking accounts? C1 Yes Pawo IF YES, state total amount $
Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary household furnishings and
clothing)? [[] Yes pKxo
PROP- VALUE DESCRIPTION
ERTY IF YES, GIVE THE VALUE AND $
DESCRIBE IT
MARITAL STATUS Noor List persons you actually support and your relationship to them
10. o
SINGLE Depend
DEPENDENTS ——_ MARRIED D
WIDOWED
PARATED OR
OBLIGATIONS & DIVORCED
DEBTS APARTMENT Creditors Total Debt Monthly Payfnt.
DEBTS & OR HOME: ~
MONTHLY MANE 5 5
BILLS id
«LIST ALL CREDITORS, 5 ? 5 {
INCLUDING BANKS, 5 5
LOAN COMPANIES, s s
CHARGE ACCOUNTS,
ETC)

 

I certify under penalty of perjury that the foregoing is true and correct. Executed on (date)

SIGNATURE OF DEFENDANT
(OR PERSON REPRESENTED)

» te thd

21200 )

 

 

 
